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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                           Senior District Judge Richard P. Matsch

Civil Action No. 04-cv-1655-RPM

MESA OIL, INC.,

                     Plaintiff,

v.

UNITED STATES OF AMERICA,

                     Defendant.


              ORDER TO SUBMIT REVISED PROPOSED SCHEDULING ORDER

       At the scheduling conference on February 18, 2005, the Court directed that counsel

submit a revised proposed scheduling order within 30 days. None has been submitted. It is

now

       ORDERED that on or before July 18, 2005, the parties shall submit a revised proposed

scheduling order.

       Dated: July 5th, 2005

                                          BY THE COURT:


                                          s/Richard P. Matsch
                                          _______________________________________
                                          Richard P. Matsch, Senior District Judge
